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 8                            UNITED STATES DISTRICT COURT

 9                         SOUTHERN DISTRICT OF CALIFORNIA

10                                                 Case No. 3:18-cv-428-DMS
11    Ms. L, et al.,                               ORDER GRANTING FINAL
                                                   APPROVAL OF SETTLEMENT
12                                                 REGARDING ATTORNEYS’
13                       Plaintiff,                FEES AND COSTS
      v.
14
       U.S. Immigration and Customs
15     Enforcement, et al.,
16
                         Defendant.
17
18           Upon consideration of Plaintiffs’ Unopposed Motion for Final Approval of
19    the Settlement Regarding Attorneys’ Fees and Costs (“Fees Settlement”), the
20    record in this case, and the argument of the parties at the hearing regarding
21    approval of the Fees Settlement on Tuesday, November 5, 2024,
22           IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS
23    FOLLOWS:
24           1.        The Motion is GRANTED.
25           2.        The Court finds that: (a) the proposed Fees Settlement is fair,
26    reasonable, and adequate to grant final approval of the proposed Fees Settlement
27    under Fed. R. Civ. P. 23(e); (b) the Fees Settlement was negotiated at arm’s length
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 1    by experienced counsel acting in good faith; and (c) there has been adequate
 2    opportunity for experienced counsel to evaluate the claims and risks at this stage of
 3    the litigation.
 4           3.     The Court finds that the Class Notice given concerning the Fees
 5    Settlement fully informed the Class Members of the material elements of the
 6    proposed Fees Settlement and their opportunity to object and comment, and that the
 7    notice the parties provided complied with the requirements of Federal Rule of Civil
 8    Procedure 23. No Ms. L. Settlement Class member has objected to the Fees
 9    Settlement, which further supports granting approval.
10           4.     Accordingly, the Court hereby grants final approval of the Fees
11    Settlement, directs that the Fees Settlement be effectuated per its terms, and orders
12    the following:
13                  a. The Ms. L. Plaintiffs are awarded fees and expenses in a total of
14                      $6,109,934.14, with $4,000,000 to go to the ACLU and
15                      $2,109,934.14 to go to the Steering Committee organizations;
16                  b. The Dora Plaintiffs are awarded fees and expenses in a total of
17                      $301,729.93.
18           5.     The Court reserves continuing jurisdiction to interpret and enforce the
19    Fees Settlement.
20           IT IS SO ORDERED.
21    Dated: November 5, 2024
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